                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                              No. 5:18-CV-00211-D


TAYLOR FISSE and BRYAN REES, individually )
and on behalf of all others similarly situated, )
                                                )   REPLY MEMORANDUM IN
                       Plaintiffs,              )   SUPPORT OF DEFENDANT
                                                )   AUDIBLE, INC.’S MOTION TO
               v.                               )   COMPEL ARBITRATION
                                                )   9 U.S.C. §§ 1-14
AUDIBLE, INC.,                                  )
                                                )
                       Defendant.               )
                                                )




        Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 1 of 16
                                                  TABLE OF CONTENTS

                                                                                                                                    Page

ARGUMENT ..................................................................................................................................2

I.        THE “LAW OF THE CASE” DOCTRINE DOES NOT APPLY AND IN ANY EVENT
          WOULD NOT SUPPORT PLAINTIFFS’ POSITION. ......................................................2

II.       PLAINTIFFS FAIL TO OVERCOME EVIDENCE OF THEIR REPEATED
          AGREEMENTS TO ARBITRATE. ....................................................................................4

III.      BOTH THE PLAIN LANGUAGE OF PLAINTIFFS’ AGREEMENTS AND
          EQUITABLE ESTOPPEL PRINCIPLES REQUIRE ARBITRATION. ............................7

IV.       THERE IS NOTHING UNCONSCIONABLE ABOUT THE ARBITRATION
          AGREEMENTS OR THEIR APPLICATION IN THIS CASE. .........................................9

CONCLUSION .............................................................................................................................10




                                          i
             Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 2 of 16
                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

CASES

Bergenstock v. LegalZoom.com, Inc.,
   No. 13 CVS 15686, 2015 WL 3866703 (N.C. Super. Ct. June 23, 2015) .................................4

Christianson v. Colt Indus. Operating Corp.,
   486 U.S. 800 (1988) ...................................................................................................................2

Douglas v. U.S. Dist. Ct.,
   495 F.3d 1062 (9th Cir. 2007) ...................................................................................................6

Ekin v. Amazon Servs., LLC,
   84 F. Supp. 3d 1172 (W.D. Wash. 2014)...................................................................................6

In re Cragar Indus., Inc.,
    706 F.2d 503 (5th Cir. 1983) .....................................................................................................2

J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A.,
    863 F.2d 315 (4th Cir. 1988) .....................................................................................................9

Levin v. Alms & Assocs., Inc.,
   634 F.3d 260 (4th Cir. 2011) .....................................................................................................9

Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
  460 U.S. 1 (U.S. 1983)...............................................................................................................5

Mundi v. Union Security Life Insurance Co.,
  555 F.3d 1042 (9th Cir. 2009) ...................................................................................................8

Rajagopalan v. NoteWorld, LLC,
   718 F.3d 844 (9th Cir. 2013) .....................................................................................................8

Roach v. Navient Sols., Inc.,
   165 F. Supp. 3d 343 (D. Md. 2015) .......................................................................................4, 5

Sejman v. Warner-Lambert Co.,
   845 F.2d 66 (4th Cir. 1988) .......................................................................................................3

Selden v. Airbnb, Inc.,
    No. 16-CV-00933 (CRC), 2016 WL 6476934 (D.D.C. Nov. 1, 2016)......................................4

Sokol Holdings, Inc. v. BMB Munai, Inc.,
   542 F.3d 354 (2d Cir. 2008).......................................................................................................8




                                          ii
              Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 3 of 16
                                            TABLE OF AUTHORITIES

                                                                                                                       Page(s)

CASES

Washington Square Sec., Inc. v. Aune,
  253 F. Supp. 2d 839 (W.D.N.C. 2003) ..................................................................................4, 5

STATUTES

Federal Arbitration Act, 9 U.S.C. §§ 1-14 .......................................................................................5




                                         iii
             Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 4 of 16
       Nothing in Plaintiffs’ Opposition rebuts Audible’s showing that Plaintiff Taylor Fisse and

Bryan Rees’s claims should be compelled to arbitration. First, Plaintiffs’ argument that the “law

of the case” doctrine precludes arbitration is misguided, both legally and factually. The Central

District of California transferred this case because it lacked jurisdiction over Plaintiffs’ claims,

and accordingly its orders as to other parties do not control. The facts in this case also differ

significantly from what the California court considered on other arbitration motions. Indeed,

applying those rulings to the facts here would require sending Plaintiffs’ claims to arbitration.

       Second, Plaintiffs’ opposition fails to rebut the overwhelming evidence that Plaintiffs

received reasonable notice of and repeatedly assented to arbitration provisions through multiple

online agreements over the years. Plaintiffs suggest that the Court should apply a rigid test in

analyzing notice and assent, but the cases they cite do not support that mechanical approach. On

the contrary, the question of assent to online terms is simply whether, under all the

circumstances, the customer received constructive or “inquiry” notice. Here, Fisse repeatedly

received such notice and accepted both Audible and Amazon terms. Rees likewise repeatedly

accepted Amazon’s terms, which applied when he added his payment card to the Amazon

account that Fisse used to purchase an Audible membership.

       Plaintiffs also fail to rebut Audible’s evidence that Rees’s claims are so closely

intertwined with Fisse’s claims against Audible, and his own claims against Audible’s parent

company Amazon, that principles of equitable estoppel compel the Court to order his claims to

binding arbitration as well. To hold otherwise would render both Fisse and Rees’s repeated

agreements to arbitrate meaningless, and thwart the strong federal policy in favor of arbitration.

       Finally, Plaintiffs have failed to demonstrate that the arbitration provisions here are in

any way unconscionable. Their reliance on Judge Wu’s “corrective action” order is misplaced,




                                      1
          Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 5 of 16
since, by its own language, that order does not apply to Fisse or Rees’s repeated agreements to

arbitrate. There is also nothing coercive about requiring customers to accept a company’s

current terms of service when they initiate new purchases and memberships. In addition,

Plaintiffs have not shown any material differences between the arbitration provision here and

those that many courts have enforced. Accordingly, Audible respectfully asks the Court to

compel the case to arbitration and dismiss the Third Amended Complaint in its entirety.

                                            ARGUMENT

I.      THE “LAW OF THE CASE” DOCTRINE DOES NOT APPLY AND IN ANY
        EVENT WOULD NOT SUPPORT PLAINTIFFS’ POSITION.

        Plaintiffs misstate the “law of the case” doctrine. They also brush aside the important

differences between the sign-up flows considered by the California court and those at issue here.

        First, Plaintiffs fail to cite any cases that stand for the proposition that the decisions of a

court that transfers a case for lack of jurisdiction govern motions as to different parties and based

on different facts. On the contrary, the “age-old rule” states that “a court may not in any case,

even in the interest of justice, extend its jurisdiction where none exists . . . .” Christianson v.

Colt Indus. Operating Corp., 486 U.S. 800, 818 (1988) (holding that Federal Circuit did not have

to adopt Seventh Circuit’s jurisdictional analysis as “law of the case” and, upon finding that it

lacked jurisdiction, Federal Circuit could not reach the merits).

        Cases that Plaintiffs cite to support their “law of the case” argument are inapposite as

they concern a transferee court’s ability to reconsider transfer decisions. For instance, In re

Cragar Indus., Inc., 706 F.2d 503, 505 (5th Cir. 1983), the court affirmed the general principle

that, if a “motion to transfer is granted and the case is transferred to another district, the

transferee-district should accept the ruling on the transfer as the law of the case . . . .” Id. at 505

(emphasis added; citations and quotations omitted). Under this reasoning, it would be improper



                                      2
          Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 6 of 16
to seek reconsideration of whether personal jurisdiction exists in the California court. As to

claims over which it had no jurisdiction, however, rulings by the Central District of California

cannot be “law of the case.” Moreover, the “law of the case” doctrine addresses when appellate

decisions must be followed in subsequent proceedings, and “does not reach questions which

might have been decided but were not.” Sejman v. Warner-Lambert Co., 845 F.2d 66, 69 (4th

Cir. 1988) (internal citations and quotations omitted).

       Second, the facts here are different. Plaintiffs falsely claim that Audible “barely

mentions the prior orders” of the California court. Dkt. 138 (“Opp.”) at 1. But Audible’s

opening brief provided a thorough history of that case, discussed Judge Wu’s rulings in detail,

and identified points of disagreement and key factual differences. See, e.g., Dkt. 136 (“MPA”) at

5, 11-12. A review of the California court’s orders denying arbitration motions as to McKee and

Weber shows why they do not apply to the materially different facts here. Contrary to Plaintiffs’

assertion, the McKee court did not consider, much less rule on, several of the issues in this

motion. Judge Wu did not consider any Audible direct paid membership sign-ups, where his

concern about the use of the phrase “by completing your purchase” does not apply. See MPA

12-13 (describing April 14, 2017 paid membership sign-up). There was also no ruling as to any

Audible desktop credit redemptions through the flow that Fisse used on April 14, 2017. See id.

at 13-14 (describing April 14, 2017 credit redemptions). Nor was there any decision as to a

membership sign-up through the Amazon mobile app. See id. at 15-16 (describing July 21, 2017

sign-up). The California court also decided critical issues of estoppel based on an interpretation

of Ninth Circuit law, which, if accepted, would conflict with Fourth Circuit law.

       Plaintiffs also brush aside the basis on which Judge Wu granted the arbitration motion as

to Beals, and tentatively granted it as to Rogawski. Those rulings implicitly recognize that an




                                      3
          Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 7 of 16
order denying arbitration as to one named plaintiff does not prevent granting a similar motion as

to another. See Dkt. 53 (granting Beals motion to compel arbitration); Dkt. 97 at 18-20

(tentatively granting motion as to Rogawski). In fact, in granting the arbitration motion as to

Beals, Judge Wu relied on a credit redemption disclosure that is highly similar to Fisse’s April

14, 2017 credit redemption. Compare Dkt. 53 at 13-15 and Dkt. 42-6, with Dkt. 131-6. Thus, if

a “law of the case” doctrine did apply here, it would require granting the motion, at least as to

Fisse. That Plaintiffs lead with this argument merely underscores the weakness of their position.

II.    PLAINTIFFS FAIL TO OVERCOME EVIDENCE OF THEIR REPEATED
       AGREEMENTS TO ARBITRATE.

       In discussing the standard for assent to online terms, Plaintiffs’ opposition suggests a

rigid test. Opp. 13-14 (listing supposed requirements). As Audible pointed out in its opening

brief, however, the applicable standard is simply one of constructive or “inquiry” notice. E.g.,

Bergenstock v. LegalZoom.com, Inc., No. 13 CVS 15686, 2015 WL 3866703, at *5 (N.C. Super.

Ct. June 23, 2015). Indeed, courts recognize that “the prevalence of online contracting in

contemporary society lends general support to the Court’s conclusion” that use of online services

places users on notice those services’ terms. See Selden v. Airbnb, Inc., No. 16-CV-00933

(CRC), 2016 WL 6476934, at *5 (D.D.C. Nov. 1, 2016).

       Unable to overcome the proof of Fisse’s assent, Plaintiffs quibble with the evidence,

suggesting that Audible should have engaged in extensive discovery before seeking to compel

arbitration. But Courts routinely compel arbitration without discovery. See, e.g., Roach v.

Navient Sols., Inc., 165 F. Supp. 3d 343, 350 (D. Md. 2015) (declining to grant discovery where

plaintiff merely supplied affidavit that she had “no knowledge” of a contract). After all, “there is

no need to conduct any discovery, albeit limited, where it is clear that the instant dispute is, in

fact, arbitrable.” Washington Square Sec., Inc. v. Aune, 253 F. Supp. 2d 839, 845 (W.D.N.C.



                                      4
          Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 8 of 16
2003), aff’d, 385 F.3d 432 (4th Cir. 2004). Tellingly, Fisse does not dispute the facts about her

extensive use of Audible, such as the dates of sign-ups and purchases or details of her customer

service interactions. Moreover, requiring expensive and time-consuming discovery would

undermine “Congress’s clear intent, in the Arbitration Act, to move the parties to an arbitrable

dispute out of court and into arbitration as quickly and easily as possible.” See Moses H. Cone

Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 22 (1983).

          Plaintiffs also ignore that Audible and Amazon identified multiple witnesses and

undertook an extensive investigation of their records, delivering seven declarations that provided

a robust evidentiary foundation. Plaintiffs seek to marginalize all this, characterizing the

testimony as “allegations.” See Opp. 14 & n.4. Sworn testimony is more than mere allegations,

particularly when those testifying are in a position to know the facts. See Roach, 165 F. Supp. 3d

343, 350 (D. Md. 2015) (finding “no genuine dispute of material fact concerning arbitrability”

where defendant “proffered an affidavit attesting to a contractual relationship with Plaintiff,

along with substantial documentation in evidence of this relationship”). Plaintiffs offer no basis

to reject testimony by knowledgeable employees and in reliance on internal records. 1

          Here, the undisputed evidence confirms that Plaintiff Fisse repeatedly agreed to the

    Audible Conditions of Use (COU)—both by signing up for Audible memberships and by

    making audiobook purchases through screens that contained hyperlinked terms acceptance

    disclosures. See MPA 8-16. Collectively and individually, these flows created assent to

    Audible COU under any objective reasonableness standard, and Plaintiffs’ nitpicking does



1
  Nor did Audible “concede” anything by not putting in evidence from 2013-2014. See Opp. 15.
Going back more than four years before this lawsuit, and outside any applicable statute of
limitations, is wholly unnecessary here, where the evidence of more recent transactions amply
demonstrates assent, and Plaintiffs’ claimed harm arises from a recent membership.


                                        5
            Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 9 of 16
nothing to change this. For instance, the opposition criticizes Audible for relying on sign-up

flows that use “By completing your purchase” language, suggesting that Judge Wu’s prior

rulings foreclose this argument. See Opp. 16-17, 20-21. Audible’s opening brief explained its

disagreement with Judge Wu’s reasoning. See MPA 11-12. But more importantly, Plaintiffs

cannot get around the fact that Fisse’s sign-up on April 14, 2017 was for a direct paid

membership, not a free trial. See MPA 12-13. Nor can Plaintiffs’ sidestep Audible’s evidence

that Fisse redeemed credits through using a “Confirm Purchase” button in close proximity to a

prominent hyperlinked disclosure with terms acceptance language. See Dkt. 131 ¶¶ 6-7, Exs. E-

F. Significantly, this screen was much like the one on the Amazon desktop that Judge Wu

found created assent as to Beals in the McKee action. Cf. Dkt. 42-6.

       Unable to refute this last point, Plaintiffs instead submit misleading evidence. See Opp.

19 (citing Dkt. 44-4). The screenshot Plaintiffs submit is not the final screen where a member

confirms a purchase; it is a screen Audible presents earlier in the flow, when a member selects

whether to pay with cash or credits. See Reply Declaration of Kausik Basu ¶ 3. The actual

“confirm purchase” page showed the relevant hyperlinked disclosures. Id. Audible uses a

similar screen on its desktop website today, and this would have been obvious to anyone

completing a purchase through the flow that Plaintiffs’ counsel discusses in his declaration. Id.

       Nor is there any merit to Plaintiffs’ argument that they never accepted Amazon’s

arbitration agreement because they made some purchases before Amazon adopted an arbitration

provision. See Opp. 24-25 (relying on Douglas v. U.S. Dist. Ct., 495 F.3d 1062, 1065 (9th Cir.

2007)). Plaintiffs have repeatedly attempted to raise this argument in the California action, and

the court there has rejected it. See, e.g., Dkt. 37 at 17 & n.7. The court in Ekin v. Amazon Servs.,

LLC, 84 F. Supp. 3d 1172, 1177 (W.D. Wash. 2014), also rejected a similar argument, observing




                                      6
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 10 of 16
that even where customers had made purchases before 2011, Amazon’s terms containing the

arbitration agreement “were presented to and agreed to by [customers] each and every time they

made a purchase after August 2011.” At all relevant times, the Amazon COU have also

explicitly reserved Amazon’s right to make changes to its site, policies, and terms. See Dkt. 138-

2 at 8-9, 138-3 at 4; see also Dkt. 133, Exs. A-L. Moreover, since August 2011, the Amazon

COU have featured a “last updated” notice in large font at the very top of the document. See

Dkt. 133, Exs. A-L. This evidence further supports the conclusion that, by placing new orders

on Amazon, Plaintiffs agreed to the Amazon terms in place at that date. 2

       In short, Audible’s extensive evidence satisfies its burden of showing Plaintiffs’

arbitration agreements with Audible and Amazon.

III.   BOTH THE PLAIN LANGUAGE OF PLAINTIFFS’ AGREEMENTS AND
       EQUITABLE ESTOPPEL PRINCIPLES REQUIRE ARBITRATION.

       Since arbitration agreements exist as to both Plaintiffs, the analysis turns to the scope of

the agreements. Plaintiffs do not dispute that the arbitration clauses are broad, encompassing

“any dispute or claim relating in any way” to Amazon and Audible services. Nor do Plaintiffs

dispute that Fisse’s claims fall within the scope of the Audible agreement. The evidence is also

clear that Plaintiffs’ claims fall within the agreements with Amazon, since (1) they “relate to”

Plaintiffs’ use of Amazon to add a payment card and sign up for Audible, and (2) the Amazon

COU defines Amazon as including its “affiliates,” rendering Audible a third party beneficiary.

       Plaintiffs also fail to rebut Audible’s showing that equitable estoppel principles require




2
  Plaintiffs rely heavily on the Second Circuit’s opinion in Nicosia throughout their opposition,
but then they urge this Court to disregard later developments in that case. See Dkt. 139
(objections to Nicosia report). The reasoning of the Nicosia report, not its precedential weight, is
what matters: a plaintiff who makes repeated purchases using screens that link to updated service
terms assents to those terms under an objective standard.


                                      7
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 11 of 16
compelling this case to arbitration, and their reliance on Judge Wu’s ruling on the issue (Dkt. 37

at 22-23) is misplaced. The California court based that decision on its interpretation of two

Ninth Circuit cases, Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042 (9th Cir. 2009) and

Rajagopalan v. NoteWorld, LLC, 718 F.3d 844 (9th Cir. 2013). But in those cases, there was no

close relationship between the party asserting the arbitration agreement and the business that

executed it. See Mundi, 555 F.3d at 1046 (non-signatory insurance company could not compel

arbitration based on loan agreement between decedent and bank); Rajagopalan, 718 F.3d at 847

(non-signatory payment processor could not compel arbitration based on agreement between

plaintiff and debt-settlement program). In addition, unlike this case, the disputes there had no

relation to the contracts that included the arbitration agreements.

       While Mundi and Rajagopalan declined to extend equitable estoppel to allow

enforcement of arbitration agreements in those particular cases, they expressly noted that, in

other circumstances, other circuits had compelled arbitration under equitable estoppel principles.

For instance, Mundi contrasted a Second Circuit decision that outlined cases where a non-

signatory could enforce an arbitration agreement: the subject matter of the dispute was

intertwined with the contract providing for arbitration, and there was “a relationship among the

parties of a nature that justifies a conclusion that the party which agreed to arbitrate with another

entity should be estopped from denying an obligation to arbitrate a similar dispute with the

adversary which is not a party to the arbitration agreement.” Mundi, 555 F.3d at 1046 (quoting

Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d 354, 359, 361 (2d Cir. 2008)).

       In view of the exceptions the Second Circuit outlined, which the Ninth Circuit noted

favorably, Audible respectfully submits that the California court considered the issue of

equitable estoppel too narrowly. And in all events, the Fourth Circuit has expressly held that




                                      8
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 12 of 16
non-signatories may invoke an arbitration clause with respect to a signatory where the claims are

“intertwined.” J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A., 863 F.2d 315, 320-21 (4th

Cir. 1988). “When the charges against a parent company and its subsidiary are based on the

same facts and are inherently inseparable, a court may refer claims against the parent to

arbitration even though the parent is not formally a party to the arbitration agreement . . . . The

same result has been reached under a theory of equitable estoppel.” Id.

       Plaintiffs’ opposition fails to rebut the evidence that the parties, their claims, and the

agreements at issue are inherently inseparable: (1) Audible is a wholly owned Amazon

subsidiary, promotes itself as an “Amazon company,” and is closely integrated with Amazon;

(2) customers must use their Amazon accounts to sign up for Audible, and Fisse did so using an

Amazon app; (3) Fisse and Rees are in a close domestic relationship, which led to Rees adding

his payment information to her account; and (4) the subject matter of this dispute is intertwined

with the Amazon terms, which require Amazon account holders to accept responsibility for

activities and charges on their accounts. See, e.g., Dkt. 131 ¶¶ 3, 5-6, Ex. B (“powered by

Amazon services”), Ex. D (“We’re an Amazon company”), Ex. E (logo reading “Audible – an

Amazon company”); Dkt. 131, Ex. F (defining “Amazon Services LLC and/or its affiliates” as

“Amazon” under the agreement). There is simply no coherent way to separate out the parties,

their agreements, and the claims in this case. Accordingly, equitable estoppel principles require

enforcing Amazon and Audible’s arbitration agreements as to both Plaintiffs’ claims.

IV.    THERE IS NOTHING UNCONSCIONABLE ABOUT THE ARBITRATION
       AGREEMENTS OR THEIR APPLICATION IN THIS CASE.

       Plaintiffs fail to address the substance of Audible’s enforceability argument. Compare

MPA 26-30, with Opp. 29-30. Their claim that retroactivity makes the arbitration agreement

unconscionable ignores the fact that arbitration agreements, like other contracts, can have



                                      9
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 13 of 16
retroactive effect. See Levin v. Alms & Assocs., Inc., 634 F.3d 260, 267 (4th Cir. 2011). Courts

enforcing the substantially identical Amazon arbitration agreement have found that it applies

retroactively. See MPA 21-22 (collecting cases). Customers who do not wish to be bound by

the arbitration provisions can choose not to purchase products and services on Amazon, but each

time a customer does so, she agrees to arbitrate all disputes, regardless of when they arose.

       Plaintiffs also incorrectly rely on the California court’s “corrective action” order to

suggest the agreement to arbitrate is unconscionable because Fisse was a “putative class

member” when she signed up for Audible in July 2017. That argument ignores the California

court’s ruling that it lacked jurisdiction over her claims. Moreover, the California court rejected

Plaintiffs’ attempt to restrict Audible’s right to enter into arbitration agreements during new

member sign-ups. That’s why the corrective action order applies only to “[a]ny agreement to

arbitrate entered into by a then current Audible member on or after July 17, 2017.” Dkt. 124-1

¶ 1 (emphasis added). It further provides that “[t]his order does not affect persons who were not

Audible customers prior to July 17, 2017 or persons who agreed to Audible’s arbitration clause

prior to July 17, 2017.” Id. ¶ 6 (emphasis added). Here, Fisse had not only agreed to Audible’s

arbitration clause repeatedly before July 17, 2017, but she had cancelled her membership and

was not a “then current Audible member” when she signed up on July 21, 2017. Moreover, Fisse

and Rees’s claims relating to Rees’s credit card were not part of the California case then, because

the claims they now raise about “unauthorized” payment cards were not properly asserted by any

plaintiff with standing. See Dkt. 53 at 10 (dismissing McKee’s claims for lack of standing). For

this reason, as well, Plaintiff’s unconscionability argument does not withstand scrutiny.

                                         CONCLUSION

       Audible respectfully requests that the court grant its motion to compel arbitration.




                                     10
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 14 of 16
Dated: August 10, 2018                Respectfully submitted,

                                      /s/ Jedediah Wakefield
                                      Jedediah Wakefield (CSB No. 178058)
                                      Email: jwakefield@fenwick.com
                                      Armen N. Nercessian (CSB No. 284906)
                                      Email: anercessian@fenwick.com
                                      Matthew B. Becker (CSB No. 291865)
                                      Email: mbecker@fenwick.com
                                      FENWICK & WEST LLP
                                      555 California Street, 12th Floor
                                      San Francisco, CA 94104
                                      Telephone:     415.875.2300
                                      Facsimile:     415.281.1350

                                      Attorneys for Defendant AUDIBLE, INC.
                                      /s/ Stephen D. Feldman
                                      Stephen D. Feldman (NCSB # 34940)
                                      ELLIS & WINTERS LLP
                                      Email: stephen.feldman@elliswinters.com
                                      4131 Parklake Avenue, Suite 400
                                      Raleigh, NC 27612
                                      Telephone:     919.865.7005
                                      Facsimile:     919.865.7010

                                      Attorney for Defendant AUDIBLE, INC.




                                  11
      Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 15 of 16
                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on August 10, 2018.




                                                      /s/ Jedediah Wakefield
                                                    Jedediah Wakefield (CSB No. 178058)
                                                    Email: jwakefield@fenwick.com
                                                    FENWICK & WEST LLP
                                                    555 California Street, 12th Floor
                                                    San Francisco, CA 94104
                                                    Telephone:     415.875.2300
                                                    Facsimile:     415.281.1350

                                                      /s/Stephen D. Feldman
                                                    Stephen D. Feldman (NCSB # 34940)
                                                    ELLIS & WINTERS LLP
                                                    Email: stephen.feldman@elliswinters.com
                                                    4131 Parklake Avenue, Suite 400
                                                    Raleigh, NC 27612
                                                    Telephone: (919) 865-7005
                                                    Facsimile: (919) 865-7010




                                     12
         Case 5:18-cv-00211-D Document 140 Filed 08/10/18 Page 16 of 16
